      Case 2:18-cv-00112-JCC Document 15-1 Filed 04/04/18 Page 1 of 3




                             Exhibit 1




DECLARATION OF JOACHIM MORRISON IN
SUPPORT OF PLAINTIFFS’ MOTION TO SERVE
DEFENDANT CSI VISA PROCESSING S.C.
PURSUANT TO RULE 4(f)(3) - 9
      Case 2:18-cv-00112-JCC Document 15-1 Filed 04/04/18 Page 2 of 3




                                               PLS 000130

DECLARATION OF JOACHIM MORRISON IN
SUPPORT OF PLAINTIFFS’ MOTION TO SERVE
DEFENDANT CSI VISA PROCESSING S.C.
PURSUANT TO RULE 4(f)(3) - 10
      Case 2:18-cv-00112-JCC Document 15-1 Filed 04/04/18 Page 3 of 3




                                               PLS 000131

DECLARATION OF JOACHIM MORRISON IN
SUPPORT OF PLAINTIFFS’ MOTION TO SERVE
DEFENDANT CSI VISA PROCESSING S.C.
PURSUANT TO RULE 4(f)(3) - 11
